4:15-cr-03101-RGK-CRZ    Doc # 157   Filed: 08/09/16   Page 1 of 4 - Page ID # 482




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                 4:15CR3108
                                     )
           v.                        )                   ORDER
                                     )
TED SANCHEZ,                         )
                                     )
                 Defendant.          )
                                     )


UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                 4:08CR3092
                                     )
           v.                        )                   ORDER
                                     )
CHRISTOPHER CECIL LEON               )
EVANS,                               )
                                     )
                 Defendant.          )
                                     )


UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                 4:15CR3101
                                     )
           v.                        )                   ORDER
                                     )
YUNIOR FLORES-VELIZ,                 )
                                     )
                 Defendant.          )
4:15-cr-03101-RGK-CRZ   Doc # 157   Filed: 08/09/16   Page 2 of 4 - Page ID # 483




UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:07CR3142
                                    )
           v.                       )                   ORDER
                                    )
MARCUS DUANE STEPHENS,              )
                                    )
                Defendant.          )
                                    )


UNITED STATES OF AMERICA,  )
                           )
             Plaintiff,    )                          4:16CR3003
                           )
         v.                )                            ORDER
                           )
JASIEL GONZALEZ RODRIGUEZ, )
                           )
             Defendant.    )
                           )


UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:16CR3003
                                    )
           v.                       )                   ORDER
                                    )
JOSE CARLOS TERRA                   )
IZQUIERDO,                          )
                                    )
                Defendant.          )
                                    )



                                        2
4:15-cr-03101-RGK-CRZ       Doc # 157    Filed: 08/09/16   Page 3 of 4 - Page ID # 484




UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:16CR3003
                                         )
             v.                          )                   ORDER
                                         )
MIGUEL ALFONSO RODRIGUEZ,                )
                                         )
                    Defendant.           )
                                         )


UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:13CR3095
                                         )
             v.                          )                   ORDER
                                         )
PAUL BROOKS LEETCH,                      )
                                         )
                    Defendant.           )
                                         )

      Because Judge Kopf is scheduled to be in trial in Omaha, Nebraska, the week
of August 15, 2016,

      IT IS ORDERED:

      1.      All hearings and proceedings in the above-captioned cases scheduled to
be held in Lincoln, Nebraska, during the week of August 15, 2016, before Judge Kopf
are continued until further order of the court;

       2.     Counsel for the government in each of the above-captioned cases is
directed to place a telephone call with counsel for the defendant in each case to Judge

                                             3
4:15-cr-03101-RGK-CRZ      Doc # 157    Filed: 08/09/16   Page 4 of 4 - Page ID # 485




Kopf’s judicial assistant, Kris Leininger, on or after August 23, 2016, to reschedule
such hearings;

      3.     The Clerk of Court shall send a copy of this order to the U.S. Marshal.

      DATED this 9th day of August, 2016.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge




                                         4
